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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

_____________________________________
JAMES P. BEECHINOR                    )                  CIVIL ACTION NO.
     Plaintiff                        )                  3:15-CV-1172-SRU
                                      )
v.                                    )
                                      )
ALFANO AUTO GROUP, LLC d/b/a          )
ALFANO NISSAN                         )
     Defendant                        )
_____________________________________ )                  MARCH 22, 2016



                             STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. Rule 41(a)(1)(A)(ii), the plaintiff, James P. Beechinor,

through his attorney, and the defendant, Alfano Auto Group, LLC d/b/a Alfano Nissan,

through their attorneys, hereby stipulate that the plaintiff’s claims shall be dismissed

with prejudice and without costs or attorney’s fees.



                                          PLAINTIFF, JAMES P. BEECHINOR

                                          By: /s/ Daniel S. Blinn________
                                               Daniel S. Blinn (ct02188)
                                               dblinn@consumerlawgroup.com
                                               Consumer Law Group, LLC
                                               35 Cold Spring Rd. Suite 512
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                                          DEFENDANT, ALFANO AUTO GROUP, LLC

                                          d/b/a ALFANO NISSAN

                                          By: /s/ Robert E. Koosa
                                               Robert E. Koosa (ct26191)
                                               rkoosa@bonnerkiernan.com
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                                    CERTIFICATION

        I hereby certify that on this 22nd day of March, 2016, a copy of the foregoing was
filed electronically and served by mail on anyone unable to accept electronic filing.
Notice of this filing will be sent by e-mail to all parties by operation of the Court’s
electronic filing system or by mail to anyone unable to accept electronic filing as
indicated on the Notice of Electronic Filing. Parties may access this filing through the
Court’s CM/ECF System.


                                           /s/ Daniel S. Blinn
                                          Daniel S. Blinn




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